Case 6:12-cv-00351-MHS-JDL Document 59 Filed 02/28/14 Page 1 of 1 PageID #: 965

                            UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION

                                                   §
 U.S. ETHERNET INNOVATIONS, LLC.,                  §
       Plaintiff,                                  §      CASE NO. 6:12-CV-351-MHS-JDL
                                                   §
 v.                                                §      JURY TRIAL DEMANDED
                                                   §
 DIGI INTERNATIONAL INC., et al.,                  §
       Defendants.                                 §
                                                   §


                                        FINAL JUDGMENT

         Pursuant to Plaintiff U.S. Ethernet Innovations LLC’s and Defendant Epson America,

 Inc.’s Joint Motion For Entry of Dismissal With Prejudice Under FED. R. CIV. P. 41(a)(1)(A)(ii)

 (6:12-cv-235 Doc. No. 590), the Court hereby enters Final Judgment.

         IT IS ORDERED, ADJUDGED and DECREED that the parties take nothing and that all
    .
 pending motions are DENIED AS MOOT. All costs are to be borne by the party that incurred

 them.

         It is further ORDERED, ADJUDGED and DECREED that Plaintiff’s claims are

 DISMISSED with prejudice in their entirety.

         The Clerk of the Court is directed to close this case.

         It is SO ORDERED.

         SIGNED this 28th day of February, 2014.




                                                           ____________________________________
                                                           MICHAEL H. SCHNEIDER
                                                           UNITED STATES DISTRICT JUDGE
